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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 TASIA WILLIAMS and VINCENT                     §
 DOYLE,                                         §
                                                §
                  Plaintiffs,                   §
                                                §
 v.                                             §        Civil Action No. 3:20-CV-1526-L
                                                §
 THE CITY OF DALLAS, TEXAS;                     §
 CHIEF ULYSHA RENEE HALL; and                   §
 JOHN DOE POLICE OFFICERS 1-50,                 §
                                                §
                  Defendants.                   §

              ORDER EXTENDING AGREED PRELIMINARY INJUNCTION

         Before the court is the Parties’ Third Joint Stipulation to Extend Agreed Preliminary

Injunction, filed on October 12th, 2020. Plaintiffs’ Motion for Temporary Restraining Order (Doc.

2) was filed on June 11, 2020. On that same date, the court held a telephone conference with

counsel for Plaintiffs Tasia Williams and Vincent Doyle, and Defendants the City of Dallas, Texas,

and Chief U. Reneé Hall (collectively, the “Parties”), at which time counsel advised the court that

the Parties had reached an agreement with respect to the terms of the relief requested. Pursuant

to the Parties’ agreement, and verbal agreement to convert the requested temporary restraining

order into a preliminary injunction, the court entered an Agreed Preliminary Injunction that

enjoined and prohibited Defendants City of Dallas, Texas, and Dallas Police Chief U. Reneé Hall,

and all officers of the Dallas Police Department from:

         1.     using “less lethal” weapons, such as tear gas, smoke bombs, flashbangs,

pepperballs, mace, and other chemical agents in connection with protests: (a) against any

protesters, bystanders, civilians, or members of the press, who are not posing any immediate threat




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of serious harm to anyone, or (b) using such devices or chemical agents for purposes of controlling

peaceful crowds; and

        2.      firing or deploying kinetic impact projectiles into a crowd for any purpose.

        The court ordered that the Agreed Preliminary Injunction shall be in effect from June 11,

2020, and continue until September 9, 2020, unless otherwise dissolved, extended, or modified by

the court.

        On September 8, 2020, the Parties filed a Joint Stipulation to Extend Agreed Preliminary

Injunction, agreeing to extend the preliminary injunction in its entirety for thirty days, from

September 9, 2020, through October 9, 2020. On September 9, 2020, the court entered an order

approving the stipulation and extending the preliminary injunction through October 9, 2020. On

October 9, 2020, the Parties filed a second Joint Stipulation to Extend the Agreed Preliminary

Injunction, agreeing to extend the preliminary injunction in its entirety for another seven days,

from October 9, 2020, through October 16, 2020. On October 12, 2020, the Parties filed a Third

Joint Stipulation to Extend the Agreed Preliminary Injunction, agreeing to extend the preliminary

injunction in its entirety for another thirty-seven days, from October 9, 2020, through November

15, 2020. The court approves the Parties’ October 9, 2020 stipulation and the Parties’ October

12, 2020 stipulation, and hereby extends the Agreed Preliminary Injunction; and Defendants the

City of Dallas and Chief U. Reneé Hall, and officers of the Dallas Police Department are hereby

enjoined and prohibited from engaging in the conduct set forth in subparagraphs (1) and (2) of

first paragraph of this order.

        Accordingly, the Agreed Preliminary Injunction entered on June 11, 2020, is hereby

extended and shall be in effect from October 9, 2020, until November 16, 2020, unless otherwise

dissolved, extended, or modified by the court.



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       The Parties have agreed to waive the bond requirement, pursuant to Federal Rule of Civil

Procedure 65(c), and the court orders that no bond is required.

       It is so ordered this 14th day of October, 2020.


                                                    _________________________________
                                                    Sam A. Lindsay
                                                    United States District Judge




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